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                  Exhibit H
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                                                                                        your channel from    2 of 5
                                                                                                          YouTube



                                                                                        PES YouTube <pesvideo5710@gmail.com>



  Pinnacle Employee Services, we have removed your channel from YouTube
  1 message

  YouTube <no-reply@youtube.com>                                                                           Thu, Feb 8, 2024 at 3:10 AM
  Reply-To: YouTube <no-reply@youtube.com>
  To: pinnacle-employ-9827@pages.plusgoogle.com




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                                                                                                          YouTube




                   Hi Pinnacle Employee Services,

                   We have reviewed your content and found severe or repeated violations of
                   our impersonation policy. Because of this, we have removed your channel
                   from YouTube.

                   We know this is probably very upsetting news, but it's our job to make sure
                   that YouTube is a safe place for all. If we think a channel severely violates
                   our policies, we take it down to protect other users on the platform - but if
                   you believe we've made the wrong call, you can appeal this decision. You'll
                   find more information about the policy in question and how to submit an
                   appeal below.


                   What our policy says

                   Content intended to impersonate a person or channel is not allowed on
                   YouTube. This includes copying another channel's profile, background, or
                   overall look and feel in such a way that makes it look like someone else's
                   channel, or using the name and image of a person with the intent to
                   impersonate them. If you operate a fan channel, make sure you state so
                   explicitly in your channel name or handle. It should be obvious to your
                   viewers that your channel doesn't represent the original creator, artist or
                   entity your channel is celebrating.



                       LEARN MORE




                   How we find violations

                   We use a combination of automated systems and human reviews to detect
                   violations of our Community Guidelines.


                   How this affects your channel

                   We have permanently removed your channel from YouTube. Going forward,
                   you won't be able to access, possess, or create any other YouTube channels.

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                                                                                                          YouTube


                   What you can do next

                   There are steps you can take if you want to appeal this decision:

                       Review YouTube's Community Guidelines.

                       Appeal here. Make sure to fill out the appeal form as completely as
                       possible, including your channel URL: https://www.youtube.com/channel/
                       UCIGqU7AwWZUHGvAKvBLkyyg

                       Learn about your resolution options.

                   If you have any further questions, please feel free to reach out to us here.

                   Sincerely,
                   The YouTube team



                   You received this email to provide information and updates around your YouTube channel or account.




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